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                 IN THE UNITED STATES DISTRICT COURT
               FOR THE MIDDLE DISTRICT OF PENNSYLVANIA


TAMMY KITZMILLER; BRYAN AND                     :
CHRISTY REHM; DEBORAH FENIMORE                  :
AND JOEL LIEB; STEVEN STOUGH;                   :
BETH EVELAND; CYNTHIA SNEATH;                   :
JULIE SMITH; AND ARALENE                        :
("BARRIE") D. AND FREDERICK B.                  :
CALLAHAN,                                       :
                                                :      CIVIL ACTION
                                Plaintiffs      :
                                                :
                     vs.                        :      No. 4:04-CV-2688
                                                :
DOVER AREA SCHOOL DISTRICT;                     :
DOVER AREA SCHOOL DISTRICT                      :      (JUDGE JONES)
BOARD OF DIRECTORS,                             :
                                                :
                              Defendants        :


                                     ORDER
             AND NOW, this ________ day of February, 2006, upon stipulation of

the parties, which is hereby approved, the clerk is ordered to enter judgment for

plaintiffs, awarding each plaintiff One ($1.00) Dollar in nominal damages and

awarding plaintiffs Two Million Sixty-Seven Thousand Two Hundred Twenty-Six

($2,067,226.00) Dollars for attorneys’ fees and expenses.

                                       BY THE COURT:


                                       __________________________________
                                       John E. Jones III, Judge
